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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

  MOUNTAIN WEST FARM BUREAU
  MUTUAL INSURANCE COMPANY,                        CV 20-160-M-DLC-KLD

                       Plaintiff,
                                                    ORDER OF RECUSAL
  vs.

  KEVIN R. FROST, SHERRI FROST,
  FROST RANCHING CORP., and
  FROST FAMILY LIMITED
  PARTNERSHIP,

                       Defendants.

        I hereby recuse myself from this matter on the ground that one of the named

Defendants is a former client of mine. Accordingly, I ask that this case be

reassigned.

              DATED this 4th day of November, 2020.



                                       Kathleen L. DeSoto
                                       United States Magistrate Judge
